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 8                                 UNITED STATES DISTRICT COURT

 9                         FOR THE EASTERN DISTRICT OF CALIFORNIA

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11    ZURI S. YOUNG and GEORGE LOVIN                    No. 2:19-cv-983-JAM-EFB P
      JACKSON,
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                         Plaintiffs,
13                                                      ORDER
             v.
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      RALPH M. DIAZ, et al.,
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                         Defendants.
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            Plaintiffs, state prisoners proceeding pro se, have filed this civil rights action seeking
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     relief under 42 U.S.C. § 1983. The matter was referred to a United States Magistrate Judge
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     pursuant to 28 U.S.C. § 636(b)(1)(B) and Local Rule 302.
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            On October 17, 2019, the magistrate judge filed findings and recommendations herein
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     which were served on plaintiffs and which contained notice to plaintiffs that any objections to the
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     findings and recommendations were to be filed within fourteen days. Plaintiff Young has filed
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     objections to the findings and recommendations.
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            In accordance with the provisions of 28 U.S.C. § 636(b)(1)(C) and Local Rule 304, this
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     court has conducted a de novo review of this case. Having carefully reviewed the entire file, the
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     court finds the findings and recommendations to be supported by the record and by proper
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     analysis.
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     Case 2:19-cv-00983-JAM-EFB Document 19 Filed 12/06/19 Page 2 of 2

 1        Accordingly, IT IS HEREBY ORDERED that:

 2        1. The findings and recommendations filed October 17, 2019, are adopted in full;

 3        2. The motions for class certification (ECF Nos. 5 & 10) are DENIED;

 4        3. All class action claims are DISMISSED without prejudice; and

 5        4. Young’s individual claims are DISMISSED without prejudice.

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     DATED: December 6, 2019
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                                              /s/ John A. Mendez____________            _____
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 9                                            UNITED STATES DISTRICT COURT JUDGE

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